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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

LISA GARCIA,

             Plaintiff,

v.                                                   No. CV 21-807 GBW/CG

LOWE’S MARKET PLACE, INC.,

             Defendant.

                              ORDER TO SHOW CAUSE

      THIS MATTER is before the Court sua sponte. On October 26, 2021, the Court

set this matter for a telephonic Rule 16 Scheduling Conference to be held on Thursday,

December 2, 2021 at 11:00 a.m. (Doc. 5). Plaintiff’s counsel-of-record, James M. Loren,

failed to attend the conference.

      IT IS THEREFORE ORDERED that Mr. Loren shall show cause why he failed to

attend the scheduled telephonic Rule 16 Scheduling Conference by no later than

Thursday, December 9, 2021.

      IT IS SO ORDERED.



                                   THE HONORABLE CARMEN E. GARZA
                                   CHIEF UNITED STATES MAGISTRATE JUDGE
